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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY



  IN RE: JOHNSON & JOHNSON                        MDL No. 3:16-md-02738-MAS-RLS
  TALCUM POWDER PRODUCTS
  MARKETING, SALES PRACTICES,
  AND PRODUCTS LIABILITY
  LITIGATION

  This Document Relates To:

  Bondurant v. Johnson & Johnson
  No. 3:19-cv-14366-MAS-RLS

  Gallardo v. Johnson & Johnson
  No. 3:18-cv-10840-MAS-RLS

  Judkins v. Johnson & Johnson
  No. 3:19-cv-12430-MAS-RLS

  Converse v. Johnson & Johnson
  No. 3:18-cv-17586-MAS-RLS

  Newsome v. Johnson & Johnson
  No. 3:18-cv-17146-MAS-RLS

  Rausa v. Johnson & Johnson
  No. 3:20-cv-02947-MAS-RLS



            NOTICE OF MOTION FOR SUMMARY JUDGMENT
      PLEASE TAKE NOTICE that on a date to be determined by the Court, the

undersigned counsel will bring Defendants Johnson & Johnson and LLT

Management, LLC (“Defendants”)’s Motion for Summary Judgment before this
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Court. Defendants will ask for entry of an order granting summary judgment in favor

of Defendants and dismissing Plaintiffs’ claims in their entirety, with prejudice.

      PLEASE TAKE FURTHER NOTICE that in support of their motion,

   Defendants shall rely upon the Brief submitted herewith and the Declaration of

   Jessica Davidson, Esq., together with exhibits; and

      PLEASE TAKE FURTHER NOTICE that a proposed Order is submitted

   herewith; and

      PLEASE TAKE FURTHER NOTICE that oral argument is requested.



  Dated: August 23, 2024                   Respectfully submitted,

                                           /s/ Susan M. Sharko
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                                     Attorneys for Defendants Johnson &
                                     Johnson and LLT Management, LLC




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